     Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
v.                                            §           CRIMINAL NO. H-08-0177-04
                                              §
BERNARDO PENA                                 §

                            MEMORANDUM AND ORDER

       The defendant, Bernardo Pena (#66941-179), is presently incarcerated in the United

States Bureau of Prisons at a facility in Pollock, Louisiana, as the result of a judgment and

conviction entered against him in this Court. Pena has now filed a motion to “modify” his

sentence to reduce his term of imprisonment under the “Second Chance Act” [Doc. # 406].

The government has filed a response [Doc. # 407]. The Court has carefully reviewed all

pertinent matters in this criminal case. Based on this review, the Court’s clear recollection

of the relevant proceedings, and the application of governing legal authorities, Pena’s motion

is denied for reasons set forth below.

I.     BACKGROUND

       A grand jury in this district returned a multi-count indictment against Pena and several

co-defendants, alleging a conspiracy to commit immigration fraud, among other things. On

April 3, 2009, a jury found Pena guilty of conspiracy along with other counts of encouraging

and inducing illegal immigration and money laundering. In a judgment entered on December

14, 2009, this Court sentenced Pena to serve a total of 30 months in prison, followed by a 3-

year term of supervised release. Pena has filed a notice of appeal, which remains pending
      Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 2 of 8




before the Fifth Circuit.

       Sometime after his sentence was imposed, Pena surrendered to federal custody on

February 17, 2010. He remains incarcerated in the Bureau of Prisons. Pena now seeks relief

from his sentence in the form of a court order that would reduce his term of imprisonment

by 12 months. In particular, Pena asks this Court to order the Bureau of Prisons to release

him from prison one year early and allow him to serve the remaining portion of his sentence

of imprisonment in a half-way house. For reasons outlined below, Pena’s request must be

denied.

II.    DISCUSSION

       Pena requests a modification of his prison sentence under 18 U.S.C. § 3582(c). This

statute expressly provides, however, that a court “may not modify a term of imprisonment

once it has been imposed” unless an exception applies. Id. (emphasis added). The

circumstances in which a court may reduce a sentence of imprisonment are limited to the

following: (1) when the Bureau of Prisons moves the Court to modify the sentence for

reasons outlined in § 3582(c)(1); (2) under Rule 35 of the Federal Rules of Criminal

Procedure (on the government’s motion due to substantial assistance or to correct a clerical

mistake within seven days of the date the sentence was imposed); and (3) when the

guidelines under which the defendant was sentenced have been subsequently lowered, and

a modification of sentence is consistent with the guidelines’ policy statements. See United

States v. Bridges, 116 F.3d 1110, 1112 (5th Cir. 1997) (setting forth limited exceptions for

reducing a sentence under 18 U.S.C. § 3582(c) and Rule 35). Pena does not demonstrate that

                                             2
     Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 3 of 8




any of the exceptions apply to his case. Thus, as the government correctly notes, Pena does

not identify valid authority that would support the modification to his sentence.

       Liberally construed, Pena seeks early release from confinement. For this reason, his

motion could be construed as a petition for a writ of habeas corpus under 28 U.S.C. § 2241.

Habeas corpus relief is available, however, only if a prisoner can show that he is “in custody

in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C.

§ 2241(c)(3). In this instance, Pena contends that he is entitled to relief under the “Second

Chance Act.” [Doc. # 406, at 5].

       Before addressing Pena’s claim, the Court pauses to note that authority over a federal

criminal defendant’s sentence of imprisonment is vested with the Bureau of Prisons, which

is directed to designate the place confinement and to make other decisions concerning the

defendant’s custody. See 18 U.S.C. § 3621; see also United States v. Voda, 994 F.2d 149,

151-52 (5th Cir. 1993) (observing that “only the Bureau of Prisons has the actual authority

to designate the place of incarceration” because “the executive branch and not the judicial

branch is responsible for administering sentences”). The Bureau of Prisons is bound to

release a prisoner on the date of the expiration of the prisoner’s term of imprisonment, less

any time credited toward that sentence for good behavior. See 18 U.S.C. § 3624(b). The

Bureau of Prisons shall also, “to the extent practicable,” ensure that a prisoner serving a term

of imprisonment spend a portion of the final months of that term in “prerelease custody”

under “conditions that will afford that prisoner a reasonable opportunity to adjust to and

prepare for the reentry of that prisoner into the community.” Id. at 3624(c). “Such

                                               3
      Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 4 of 8




conditions may include a community correctional facility,” also known as a halfway house.

Id.

       The Second Chance Act amended the statutory provisions which authorize the Bureau

of Prisons to determine an inmate’s eligibility for placement in a halfway house. See Second

Chance Act of 2007, Pub. L. No. 110-199, § 251(a), 122 Stat. 657, 692-93 (April 9, 2008),

codified at 42 U.S.C. § 17501. These amendments authorize the Bureau of Prisons to allow

a prisoner serving a term of imprisonment spend a portion of the final months of that term

(not to exceed 12 months) in a halfway house, see 18 U.S.C. § 3624(c), and to make

placement decisions on an individual basis consistent with the criteria set forth in 18 U.S.C.

§ 3621(b).1 Pursuant to these amendments, the Bureau of Prisons issued the following

revised regulation regarding halfway house placement:

       Inmates may be designated to [halfway houses] as a condition of pre-release
       custody and programming during the final months of the inmate’s term of
       imprisonment, not to exceed twelve months.

Pre-Release Community Confinement, 73 Fed. Reg. 62,440, 64,443 (Oct. 21, 2008), codified

at 28 C.F.R. 570.21(a).

       The Fifth Circuit has not yet addressed the merits of a claim under the Second Chance

Act. See Broderick v. Chapman, 364 F. App’x 111, 2010 WL 445441 (5th Cir. Feb. 5, 2010)

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       This statute provides that “[t]he Bureau of Prison shall designate the place of the prisoner’s
       imprisonment.” 18 U.S.C. § 3621(b). The statute also sets forth a number of factors for
       consideration when making that designation, including: “(1) the resources of the facility
       contemplated; (2) the nature and circumstances of the offense; (3) the history and
       characteristics of the prisoner; (4) any statement by the court that imposed the sentence . .
       .; and (5) any pertinent policy statement issued by the Sentencing Commission pursuant to
       [28 U.S.C. § 994(a)(2)].” Id.

                                                 4
     Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 5 of 8




(affirming a dismissal for failure to exhaust administrative remedies); Rivkin v. Tamez, 351

F. App’x 876, 2009 WL 3489428 (5th Cir. Oct. 29, 2009) (same). Of the courts that have

considered such claims, most have observed that the Second Chance Act does not authorize

any type of modification that would sentence a defendant to a halfway house or any other

pre-release program by the Bureau of Prisons. See United States v. Rhodes, No. 1:07CR612,

2008 WL 4657069 (N.D Ohio Oct. 21, 2008); see also McCarthy v. United States, 2010 WL

5162025 (M.D. Fla. Dec. 14, 2010) (observing that the Second Chance Act provides no

authority to modify the defendant’s sentence); United States v. Peeples, No. 3:10-580, 2011

WL 743103 (D.S.C. Feb. 24, 2011) (rejecting a prisoner’s request to modify his sentence

under the Second Chance Act for lack of jurisdiction). In that regard, even assuming that the

claims are actionable under 28 U.S.C. § 2241, courts have recognized that the Second

Chance Act affords “no affirmative right to placement in a half way house,” or to a 12-month

placement of the type that the defendant demands in this instance. Stanko v. Rios, 2009 WL

1303969, *3 (D. Minn. May 8, 2009), aff’d, 366 F. Appx. 725 (8th Cir. 2010). Rather, the

only relief that a reviewing court is authorized to grant is an order directing prison officials

to consider the prisoner for placement in a halfway house in compliance with the Second

Chance Act amendments. See, e.g., Fields v. Woodring, No. CV-08-426, 2008 WL 4911872,

*4 (C.D. Cal. Nov. 14, 2008); Smith v. Sanders, No. CV-09-3083, 2009 WL 2900317, *6

(C.D. Cal. Sept. 3, 2009); Bell v. Sanders, No. CV-10-3739, 2010 WL 5631740, *4 (C.D.

Cal. Dec. 16, 2010).

       The government notes that, to date, Pena has not served half of the 30-month sentence

                                               5
     Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 6 of 8




imposed by this Court. As such, he is not yet eligible for consideration or evaluation for

eligibility by the Bureau of Prisons for early release to a halfway house. It follows that Pena

cannot show that he has been denied consideration for early release or placement in a

halfway house in violation of the Second Chance Act. As a result, Pena’s motion fails to

state a claim over which this Court has jurisdiction.2

       Likewise, to the extent that Pena’s claims are actionable under the federal habeas

corpus statutes, Pena does not allege or show that he has attempted to exhaust available

administrative remedies with respect to his claims before pursuing federal review.3 The Fifth

Circuit has determined that a federal prisoner seeking relief under 28 U.S.C. § 2241 “must

first exhaust his administrative remedies through the Bureau of Prisons.” Rourke v.

Thompson, 11 F.3d 47, 49 (5th Cir. 1993) (citing United States v. Gabor, 905 F.2d 76, 78 n.2


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       It is well established that Article III of the United States Constitution empowers the federal
       courts to hear only live cases and controversies. U.S. CONST. art. III § 2; Horne v. Flores,
       — U.S. —, 129 S. Ct. 2579, 2592 (2009); Warth v. Seldin, 422 U.S. 490, 498-99 (1975). A
       case or controversy must be ripe for decision, meaning that it must not be premature or
       speculative. See Shields v. Norton, 289 F.3d 832, 834-35 (5th Cir. 2002); see also LeClerc
       v. Webb, 419 F.3d 405, 413-14 (5th Cir. 2005) (“The ripeness doctrine counsels against
       ‘premature’ adjudication by distinguishing matters that are ‘hypothetical’ or ‘speculative’
       from those that are poised for judicial review.”) (quotation omitted). Like standing,
       “ripeness is a constitutional prerequisite to the exercise of jurisdiction.” Shields, 289 F.3d
       at 835 (citation omitted).
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       The Bureau of Prisons has established a three-tiered administrative remedy procedure for
       federal prisoners. See 28 C.F.R. §§ 542.10 – 542.19. Under this system, an inmate may file
       a formal grievance with the warden if informal resolution is not successful. See id. at
       § 542.13. Once the warden denies an inmate’s grievance, the prisoner may appeal to the
       Regional Director. If dissatisfied with that response, the inmate may pursue a final appeal
       to the BOP’s Office of General Counsel. See id. at § 542.15(a). Administrative remedies
       have not been exhausted until the inmate’s claim has been filed and denied at all levels. See
       Irwin v. Hawk, 40 F.3d 347, 349 n.2 (11th Cir. 1994).

                                                 6
       Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 7 of 8




(5th Cir. 1990) (citations omitted); Lundy v. Osborn, 555 F.2d 534, 534-35 (5th Cir. 1977)

(“[G]rievances of prisoners concerning prison administration should be presented to the

Bureau [of Prisons] through the available administrative channels. Only after such remedies

are exhausted will the court entertain the application for relief in an appropriate case.”)

(citations omitted)).

        The purpose of the exhaustion requirement is to allow an administrative agency “to

perform functions within its special competence — to make a factual record, to apply its

expertise, and to correct its own errors so as to moot judicial controversies.” Parisi v.

Davidson, 405 U.S. 34, 37-38 (1972) (citing McKart v. United States, 395 U.S. 185, 194-95

(1969)); see also Smith v. Thompson, 937 F.2d 217, 219 (5th Cir. 1991) (observing that, by

failing to exhaust, the petitioner was “demanding that the federal court order the agency to

correct any error rather than permitting the agency to do so on its own”). Exceptions to the

exhaustion requirement are appropriate only where “‘the available administrative remedies

either are unavailable or wholly inappropriate to the relief sought, or where the attempt to

exhaust such remedies would itself be a patently futile course of action.’” Fuller v. Rich, 11

F.3d 61, 62 (5th Cir. 1994) (quotation omitted). Because Pena does not allege or show that

he has been denied consideration for early release under the Second Chance Act, and that he

has exhausted all available administrative remedies, his pending motion must be denied as

premature at this time.

III.    CONCLUSION AND ORDER

        Accordingly, because Pena does not articulate a valid claim for relief, it is

                                              7
    Case 4:08-cr-00177 Document 408 Filed on 03/30/11 in TXSD Page 8 of 8




ORDERED that his motion for early release [Doc. # 406] is DENIED at this time.

      The Clerk will provide copies of this order to the parties.

      SIGNED at Houston, Texas on March 30, 2011.



                                                 ________________________________
                                                        NANCY F. ATLAS
                                                 UNITED STATES DISTRICT JUDGE




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